RICHARD A. OTTO, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Otto v. CommissionerDocket No. 22360.United States Board of Tax Appeals19 B.T.A. 889; 1930 BTA LEXIS 2306; May 9, 1930, Promulgated *2306  Upon the evidence respondent's determination of petitioner's gain upon the sale of certain shares of stock in 1924 approved.  James Walton, Esq., for the petitioner.  James L. Backstrom, Esq., for the respondent.  SMITH *890  The respondent has determined a deficiency of $6,187.35 in petitioner's income tax for the calendar year 1924.  The major part of this amount is in controversy.  The only issue relates to the amount of gain derived by the petitioner upon the sale of certain shares of stock in the year 1924.  FINDINGS OF FACT.  The petitioner is an individual residing at 179 North Avenue, Emsworth, Pa.  On January 6, 1921, the petitioner's father, B. F. Otto, the petitioner, and the petitioner's two brothers entered into an agreement relating to certain shares of stock of the Harmony Creamery Co., then owned by B. F. Otto, providing as follows: MADE and entered into this sixth day of January A.D. 1921, between B. F. OTTO, of Jackson Township, Butler County, Pennsylvania, party of the first part, and GEORGE F. OTTO, of Carrick, RICHARD A. OTTO, of Emsworth, and THOMAS P. OTTO of Ingomar, all of Allegheny County, Pennsylvania, parties*2307  of the second part.  WHEREAS, in consideration of natural love and affection, as well as for divers other good and valuable considerations, the party of the first part has this day assigned, transferred and set over all of his stock in the Harmony Creamery Company, a Pennsylvania corporation, with the exception of one share, unto the parties of the second part, in certain proportions, upon the terms and conditions hereinafter contained.  NOW THEREFORE THIS AGREEMENT WITNESSETH AS FOLLOWS, to-wit: FIRST.  The parties of the second part, as majority stockholders in and members of the Board of Directors of the Harmony Creamery Company, a Corporation, hereby covenant and agree to vote all of their stock in said corporation in favor of the party of the first part as President of said company, and as a member of the Board of Directors thereof so long as he, the said party of the first part, so desires, and likewise agree to vote all of their aforesaid stock in favor of such corporate action as he, the said party of the first part, may from time to time designate and require during the balance of his natural life in connection with any matter or thing that may be presented for disposition*2308  either before the stockholders or board of directors.  SECOND.  As part consideration thereof, the said parties of the second part guarantee unto the party of the first part that said corporation will award an annual salary of Twelve Thousand ($12,000.00) Dollars unto the party of the first part during the balance of his natural life.  Upon the death of the party of the first part, the parties of the second part agree to contribute towards the support of their mother, Leah Ziegler Otto, a monthly sum of Two Hundred Fifty ($250.00) Dollars, so long as she lives.  THIRD.  Upon the death of the party of the first part, the share of stock retained by him as aforesaid shall vest in and become the property of the parties of the second part hereto, and in order to carry out the provisions of this paragraph such share of stock shall be endorsed in blank by the party of the first part.  FOURTH.  In order to carry out the terms and provisions of this contract, all of the stock assigned by the party of the first to the parties of the second part, as aforesaid, together with the share of stock retained by the party of *891  the first part, shall be deposited in escrow with and held*2309  by the South Side Trust Company of Pittsburgh, Pa., or some other mutually satisfactory depository.  FIFTH.  The parties of the second part, as part consideration hereof, hereby agree to procure and deliver and without cost to the party of the first part, such merchandise as are dealt in by the Harmony Creamery Company, during the lifet me of the said party of the first part for his personal use.  On January 24, 1921, the petitioner's mother, Leah Ziegler Otto, entered into an agreement with the petitioner and his two brothers whereby she agreed: 1.  IN CONSIDERATION of the premises, of natural love and affection, of the sum of One ($1.00) Dollar and other good and valuable consideration, * * * that all of the stock deposited or to be deposited in escrow, with the South Side Trust Company of Pittsburgh, Pa., be released absolutely upon the death of her said husband, and all of said stock immediately upon such demise of said B. F. Otto be delivered forthwith to the said parties of the first part as their respective ownerships may appear on the stock certificates.  * * * 3.  It is the intention of this agreement that the party of the second part should and does hereby relinquish*2310  and release the said stock in said company as security for the payment of the monthy allowance provided in the attached contract, and should and does hereby accept in lieu thereof the personal responsibility of the parties of the first part.  On January 25, 1921, the South Side Trust Co. accepted the aforesaid 362 shares of stock by the following words, which appear as a part of the agreement of January 6, 1921: The South Side Trust Company of Pittsburgh, Pa., Trustee within named, hereby accepts three hundred sixty-two (362) shares of stock in the Harmony Creamery Company, of Pittsburgh, Pa. for the purposes mentioned in the foregoing contract, and supplemental agreement dated January 24th, 1921, signed by Leah Ziegler Otto, et al., and subject to the hypothecation of twenty shares with the First National Bank of Zelienople, Pa.  At the time the instrument of January 6, 1921, was executed B. F. Otto was about 70 years of age.  His death occurred in February, 1923, and about two weeks thereafter the South Side Trust Co. delivered to the petitioner and his brothers the shares of stock which it held for them under the terms of the agreement.  On March 1, 1924, the petitioner*2311  sold out to his brothers all of his stock in the Harmony Creamery Co., consisting of 133 shares, for a consideration of $500 per share.  The petitioner had acquired 12 shares of this stock prior to March 1, 1913.  During the lifetime of B. F. Otto the Harmony Creamery Co. did a large and growing business.  At the time the contract of January 6, 1921, was entered into B. F. Otto was receiving a salary from the company of $12,000 per annum.  Shortly thereafter he caused his salary to be increased to $25,000 per annum, which salary was paid by the company to the time of his death in February, 1923.  *892  The petitioner, who was vice president of the company at the time of his father's death, succeeded his father as president.  Immediately thereafter dissension arose among the petitioner and his two brothers over the management of the company, with harmful results to the business.  Finally, in the year 1925, the company went into the hands of a receiver.  No dividends were ever declared on the stock of the company after January 6, 1921.  The petitioner never had actual possession of the shares of stock held by the South Side Trust Co., and never exercised any power or control*2312  over such stock until after his father's death.  The March 1, 1913, value of the stock of the Harmony Creamery Co. was $163.02 per share.  OPINION.  SMITH: The only question for our determination in this proceeding is the amount of taxable gain derived by the petitioner in 1924 from the sale of 121 shares of stock in the Harmony Creamery Co. at $500 per share.  The petitioner raises no question as to the correctness of the determination of the respondent with respect to the profit realized upon the sale of 12 shares of stock in 1924 at $500 per share.  The basis agreed to by the petitioner is the March 1, 1913, value of the stock, namely, $163.02 per share.  The parties are in dispute only as to the proper basis to be used in computing the amount of the gain upon the sale of the 121 shares.  The respondent has computed the gain upon the basis of a March 1, 1913, value of $163.02 per share, while the petitioner contends that the proper basis is the value of the shares at the date of the death of his father in February, 1923, which he contends was $500 per share.  It is the respondent's contention that the shares of stock in question were acquired by the petitioner as a gift*2313  from his father in 1921 and that the basis for determining petitioner's gain is the same as it would be in the hands of the donor under the provisions of section 204(a)(2) of the Revenue Act of 1924.  Petitioner contends, on the other hand, that he acquired the shares of stock in question upon the death of his father on February 20, 1923, as a result of a testamentary trust executed by his father on January 6, 1921, which testamentary trust was intended to take effect and did take effect upon the death of his father; that the fair market value of each share of stock at February 20, 1923, was $500 per share; and that his gain upon the sale should be computed upon the basis of the value of the stock on that date in accordance with the provisions of section 204(a)(5) of the Revenue Act of 1924.  The pertinent parts of the statute read as follows: *893  (a) The basis for determining the gain or loss from the sale or other disposition of property acquired after February 28, 1913, shall be the cost of such property; except that - * * * (2) If the property was acquired by gift after December 31, 1920, the basis shall be the same as it would be in the hands of the donor or the*2314  last preceding owner by whom it was not acquired by gift.  * * * * * * (5) If the property was acquired by bequest, devise, or inheritance, the basis shall be the fair market value of such property at the time of such acquisition.  * * * With respect to the respondent's contention that the 121 shares of stock received by the petitioner in 1923 were acquired as a result of a gift to him of the shares on January 6, 1921, it is to be noted that the instrument as of that date recites that "the party of the first part [petitioner's father] has this day assigned, transferred and set over all of his stock in the Harmony Creamery Company * * * unto the parties of the second part," upon certain terms and conditions thereafter named, among which is the following: SECOND.  As part consideration thereof, the said parties of the second part guarantee unto the party of the first part that said corporation will award an annual salary of Twelve Thousand ($12,000.00) Dollars unto the party of the first part during the balance of his natural life.  Upon the death of the party of the first part, the parties of the second part agree to contribute towards the support of their mother, Leah Ziegler*2315  Otto, a monthly sum of Two Hundred Fifty ($250.00) Dollars, so long as she lives.  This instrument imports that the petitioner was to acquire his stock for a consideration.  Under the terms of the instrument of January 6, 1921, petitioner was not to acquire his stock until the death of his mother.  But by a supplemental agreement executed on the part of his mother on January 24, 1921, the petitioner was privileged to receive the shares of stock coming to him upon his personal undertaking to pay his proportionate part of the amount to be contributed to the support of his mother during her lifetime.  This supplemental agreement does not, however, change the fact that the petitioner was to receive his shares of stock for a consideration.  In view of this fact we are of the opinion that the petitioner's father did not make a gift to the petitioner of the 121 shares of stock in 1921, for "a gift is a gratuity, and not only does not require a consideration, but there can be none; if there is a consideration for the transaction it is not a gift." 28 C.J. 620.  See also *2316 . We are furthermore of the opinion that the instrument of January 6, 1921, executed by the petitioner's father was not a testamentary *894  trust which was intended to take effect and which did take effect upon the death of the petitioner's father.  It was unquestionably the intention of the petitioner's father to part with his title to the shares of stock under the agreement entered into.  The shares of stock were turned over to an escrow agent, the South Side Trust Co. of Pittsburgh, Pa., to be held by it until the petitioner made the payments required to be made under the contract.  In our opinion the transaction amounted to a sale of the shares of stock by petitioner's father for a consideration, the consideration being that the corporation should pay a salary of at least $12,000 a year to the petitioner's father, B. F. Otto, during his lifetime, and that thereafter certain payments should be made to the petitioner's mother during her lifetime.  The facts in this case are substantially similar to those which obtained in *2317 . There the petitioner's father conveyed to John W. Scott an interest in the partnership of Carson, Pirie, Scott &amp; Co. and under the agreement of conveyance John W. Scott was required to pay a portion of the profits received by him to his father during life and thereafter certain amounts to his mother during her life.  The Board held that annual payment to Scott's mother in 1921 and 1922, were not deductible from gross income, but constituted a part of the purchase price of the property conveyed.  This view was sustained by the Circuit Court of Appeals for the Seventh Circuit, . Similarly, in this case it must be held that B. F. Otto sold his shares of stock in 1921 for a consideration.  The fact that the consideration was not fully paid or satisfied until the death of B. F. Otto does not change the fact that the sale of the shares was in 1921.  The record of this action does not afford a basis for determining the cost of the 121 shares of Harmony Creamery stock to the petitioner.  The respondent has used a basis of $163.02 per share.  We can not say that*2318  the cost per share was in excess of that amount.  But even if it be considered that the basis for the computation of the gain was the fair market value of the shares of stock on February 20, 1923, we think that the evidence falls far short of proving a value of $500 per share on that date.  It is the petitioner's contention that the business of the Harmony Creamery Co. began to go to pieces shortly after the death of his father and that since the 121 shares of stock were sold for $500 per share in 1924, they must of necessity have been worth more in 1923, at the time the petitioner actually received them from the escrow agent.  In his argument counsel for the petitioner was asked: Might not they [petitioner's brothers] have paid an amount for that stock of $500 a share, very much in excess of the value at the time acquired?  *895  Counsel for the petitioner replied: Yes, but they would have paid the same amount at the time of the father's death to get control, any value.  He was in a position to get an unreasonable price.  I admit $500 is unreasonable, but he would have gotten that at the time of his father's death.  They immediately diverted a quarter of a million*2319  dollars from the corporation.  Upon the record the determination of the Commissioner as to the profit realized upon the sale of the 121 shares of the stock in question is sustained.  Judgment will be entered for the respondent.